                              NO. 07-10-00491-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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MAY 23, 2011
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                      IN THE INTEREST OF A.N.J., A CHILD
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                FROM THE 286TH DISTRICT COURT OF HOCKLEY COUNTY;
                                       
                 NO. 10-01-21993; HONORABLE PAT PHELAN, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
	Appellant, Brenda Hall, appeals the judgment of the associate judge terminating her parental rights to her daughter.  Brenda's appointed counsel has filed a brief in conformity with Anders v. California rendering her professional opinion that any issue that could be raised on appeal is frivolous and without legal merit.  See 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).  Brenda's counsel avers that she has zealously reviewed the record in this matter and can find no arguable points of appeal.  Counsel has filed a motion to withdraw and provided Brenda with a copy of the brief.  Further, counsel has advised Brenda that she has the right to file a pro se response to the Anders brief.  The Court has likewise advised Brenda of this right.  Brenda has not favored the Court with a response. 
	This Court has long held that an appointed attorney in a termination case might discharge his professional duty to his client by filing a brief in conformity with the Anders process.  See In re A.W.T., 61 S.W.3d 87, 88-89 (Tex.App. -- Amarillo 2001, no pet.).  Likewise, other intermediate appellate courts have so held.  See Sanchez v. Tex. Dep't of Family and Protective Servs., No. 03-10-00249-CV, 2011 Tex. App. LEXIS 2162, at *1, Tex.App. -- Austin March 24, 2011, no pet.) (mem. op.); In re L.K.H, No. 11-10-00080-CV, 2011 Tex. App. LEXIS 1706, at *2-4, Tex.App -- Eastland March 10, 2011, no pet.) (mem. op.); In re D.D., 279 S.W.3d 849, 849-50 (Tex.App. -- Dallas 2009, pet. denied); In re D.E.S., 135 S.W.3d 326, 326-27 (Tex.App. -- Houston [14[th] Dist.] 2004, no pet.).
	We have conducted our own review of the record in this matter and have come to the conclusion that there are no arguable points of appeal.  See In re A.W.T., 61 S.W.3d at 89.  We, therefore, grant counsel's motion to withdraw.  We remind counsel that Brenda has the right to file a pro se petition for review to the Texas Supreme Court.  Finally, having found no arguable points of appeal requiring reversal, we affirm the judgment of the trial court.

								Mackey K. Hancock
									Justice

	
